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 DEFENDANT:      DaVita Inc.

 AGE/YOB:        N/A

 COMPLAINT       ______ Yes      __X___ No
 FILED?
                 If Yes, MAGISTRATE CASE NUMBER_____________

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                __ Yes    __ No


 OFFENSE(S):     Count 1: Conspiracy in Restraint of Trade to Allocate Employees
                 (15 U.S.C. § 1)

                 Count 2: Conspiracy in Restraint of Trade to Allocate Employees
                 (15 U.S.C. § 1)

 LOCATION OF     State and District of Colorado and elsewhere
 OFFENSE:

 PENALTY:        Count 1: Fine equal to greatest of $100 million or twice the gross
                 gain or twice the gross loss

                 Term of probation of at least 1 year, but not more than 5 years

                 $400 special assessment

                 Count 2: Fine equal to greatest of $100 million or twice the gross
                 gain or twice the gross loss

                 Term of probation of at least 1 year, but not more than 5 years

                 $400 special assessment


 AGENT:          Matthew Hamel
                 FBI

 AUTHORIZED      William J. Vigen
 BY:             Trial Attorney
                 U.S. Department of Justice, Antitrust Division




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ESTIMATED TIME OF TRIAL:

   five days or less; _X__ over five days

THE GOVERNMENT

   will seek detention in this case based on 18 U.S.C. § 3142(f)([1 or 2])

The statutory presumption of detention is not applicable to this defendant.




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